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UNITED STATES DISTRICT C()URT
FOR THE N()RTHERN DISTRICT OF TEXAS
Dallas Division

Monica Abboud, et al.,

 

 

 

Plaintiff

V 3:19~cv-00120-K
Civil Action No.

Agentra LLC,

Defendant

CERTIFICATE OF INTERESTED PERSONS
(This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(0), LR 3.2(€), LR 7.4, LR 81.l(a)(4)(D), and LR 81.2,

Plaintiff Monica Abboud

 

provides the following information:

F or a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
7*Please separate names with a comma. 0nly text visible within box will print.

None.

A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

”*Please separate names with a comma. Only text visible within box will print.

Woodrow & Peluso, LLC, Comrnon Sense Counsel, LLP, and Brooke F. Cohen.

 

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Date: 3/4/20l9

Signature: /s/ Patrick H. Peluso

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